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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI

CATHERINE FOWLER,                              )
                                               )
      Plaintiff,                               )
                                               )     Cause No. 4:17CV2547 DDN
v.                                             )
                                               )
MIDAS HOSPITALITY, LLC, et. al.                )
                                               )
      Defendants.                              )


     DEFENDANTS MIDAS HOSPITALITY, LLC AND MIDAS ST. PETERS, LLC’S
                  MOTION FOR SUMMARY JUDGMENT

       COMES NOW Defendants Midas Hospitality, LLC and Midas St. Peters, LLC, by and

through their counsel, Robert D. Rowland and the Law Offices of Rouse & Cary, and for their

Motion for Summary Judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure, state as

follows:

       1.          In her Second Amended Complaint, Plaintiff claims on December 16, 2016, she

slipped and fell on ice when she was a guest at the Courtyard Marriott St. Peters located at 4341

Veterans Memorial Parkway, St. Peters, Missouri. See Exhibit A, Second Amended Complaint ¶ 1.

       2.          Plaintiff claims Midas Hospitality, LLC (hereinafter “Hospitality”) and Midas St.

Peters, LLC (hereinafter “St. Peters”) owned, operated, managed or controlled the hotel. See

Exhibit A, Second Amended Complaint ¶ 9, 20.

       3.          Plaintiff claims there was ice on the walkway located immediately outside the main

entrance of the hotel, and as a result, the sidewalk and parking lot were not reasonably safe. See

Exhibit A, Second Amended Complaint ¶ 12, 23.

       4.          Plaintiff claims Hospitality and St. Peters were under an affirmative obligation to act

with reasonable care under the circumstances to protect its guests from injuries while on its

premises. See Exhibit A, Second Amended Complaint ¶ 14, 24.
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        5.      Plaintiff claims Hospitality and St. Peters were negligent in failing to remove the

dangerous condition of the walkway; failing to properly maintain the walkway; failing to warn of the

unsafe nature of the walkway; and failing to barricade the area of the walkway. See Exhibit A, Second

Amended Complaint ¶ 15, 25.

        6.      In this case, Plaintiff must prove that Hospitality and St. Peters owed her a duty to

use reasonable and ordinary care to prevent injury as a result of a dangerous condition existing on

the premises. Medlock v. St. John’s Health Sys., 426 S.W.3d 35, 38 (Mo. Ct. App. 2014).

        7.      Hospitality and St. Peters are entitled to summary judgment because Plaintiff has

failed to produce sufficient evidence to show the existence of one or more of the necessary elements

of her claim, namely, that Hospitality and St. Peters owed a duty to Plaintiff given the fact that she

fell on ice during and following an ice storm . The ice was a natural accumulation of ice which was

common to and present in the entire St. Louis area.

        8.      To support this Motion, Hospitality and St. Peters present their Statement of

Uncontroverted Material Facts and their Memorandum of Law in Support of their Motion for

Summary Judgment, which are attached and made a part of this Motion.

        WHEREFORE, for the reasons stated herein and in Defendants’ Statement of

Uncontroverted Material Facts and Defendants’ Memorandum of Law in Support of its Motion for

Summary Judgment, Defendants Midas Hospitality, LLC and Midas St. Peters, LLC pray that the

Court sustain their Motion for Summary Judgment and enter judgment in favor of Defendants

Midas Hospitality, LLC and Midas St. Peters, LLC against Plaintiff.
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                                                     LAW OFFICES OF ROUSE AND CARY



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                                 CERTIFICATE OF SERVICE

       Signature above is also certification that a true and correct copy of the foregoing document
has been mailed, first class, postage prepaid, this 13th day of February, 2019 to: Shaun M. Falvey,
Goldblatt + Singer, P.C., 8182 Maryland Ave., Ste. 801, St. Louis, MO 63105 and Jeffrey J. Brinker,
Brinker & Doyen, LLP, 34 N. Meramec Ave.., 5th Floor, Clayton, MO 63105.
